           Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 1 of 32 Page ID #:102


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         12    GIULIANI GROUP, LLC; GIULIANI
         13    SECURITY & SAFETY, LLC; and ROBERT
               J. COSTELLO
         14
                                    UNITED STATES DISTRICT COURT
         15
                                   CENTRAL DISTRICT OF CALIFORNIA
         16
         17
               ROBERT HUNTER BIDEN, an individual,        Case No.: 2:23-cv-08032-HDV-KSx
         18                                               Hon. Hernan D. Vera
                                Plaintiff,
         19
                                                          DEFENDANTS’ NOTICE OF MOTION
         20         v.                                    AND MOTION TO DISMISS
                                                          PURSUANT TO RULES 12(b)(2) AND
         21                                               12(b)(6) OF THE FEDERAL RULES OF
               RUDOLPH W. GIULIANI, an individual,        CIVIL PROCEDURE AND CAL. CIV.
         22    GIULIANI PARTNERS, LLC, a Limited          PROC. CODE § 425.16;
               Liability Company; GIULIANI GROUP,         MEMORANDUM OF POINTS AND
         23    LLC, a Limited Liability Company;          AUTHORITIES
               GIULIANI SECURITY & SAFETY, LLC, a         [Filed concurrently with the Declarations of
         24    Limited Liability Company, ROBERT J.       Rudolph W. Giuliani and Robert J.
         25    COSTELLO, an individual, and Does 1        Costello; Request for Judicial Notice; and
               through 20, inclusive;                     Proposed Order]
         26
                                                          Hearing Date: March 21, 2024
                                Defendants.               Hearing Time: 10:00 a.m.
         27
                                                          Courtroom:     5B
         28

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                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
           Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 2 of 32 Page ID #:103


           1                     NOTICE OF MOTION AND MOTION TO DISMISS
           2           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
           3           PLEASE TAKE NOTICE that on March 21, 2024 at 10:00 a.m., at U.S. Courthouse,
           4   350 West 1st St., Los Angeles, California 90012, Courtroom 5B, 5th Floor, Defendants
           5   Giuliani Partners, LLC (“Giuliani Partners”), Giuliani Group, LLC (“Giuliani Group”),
           6   Giuliani Security & Safety, LLC (“Giuliani Security” and, together with Giuliani Partners
           7   and Giuliani Group, the “Giuliani Companies”), and Robert J. Costello (“Costello” and,
           8   collectively with the Giuliani Companies, the “Defendants”) will and hereby do move
           9   respectfully for an order dismissing Plaintiff Robert Hunter Biden’s (“Plaintiff” or “Biden”)
         10    Original Complaint (“Complaint” [Doc. 1]) in its entirety pursuant to Fed. R. Civ. P. 12(b)(2)
         11    and (6) and California Civil Procedure Code § 425.16.
         12            As discussed in greater detail in the attached Memorandum of Points and Authorities,
         13    there are multiple reasons why the Complaint should be dismissed. First, the case should be
         14    dismissed for lack of personal jurisdiction because none of the Defendants purposefully
         15    availed themselves of a California forum. Second, and subject to the jurisdictional challenge,
         16    the Complaint should be dismissed because the Complaint fails to plausibly allege all
         17    essential elements of the claims for relief pleaded therein with the requisite specificity
         18    required by Rule 9(b). Finally, subject to the Rule 12 Motions, because the Complaint arises
         19    from the Defendants’ exercise of protected constitutional rights, it is subject to the California
         20    Anti-SLAPP statute and should be dismissed unless Plaintiff can adduce prima facie
         21    evidence of his claims such that it would overcome any substantive defenses.
         22            This Motion is based on this Notice of Motion and Motion, the attached
         23    Memorandum of Points and Authorities, the Declarations of Rudolph W. Giuliani and
         24    Robert J. Costello, the concurrently filed Request for Judicial Notice, and upon all
         25    pleadings, papers and records on file with the Court, and upon such further evidence and
         26    argument, either oral or written, as may be presented before or at the hearing on this
         27    Motion.
         28    ///

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                     DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
           Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 3 of 32 Page ID #:104


           1         This Motion is made following the conference of counsel pursuant to L. R. 7-3 which
           2   took place on January 9, 2024.
           3
           4                                                  GORDEE, NOWICKI & BLAKENEY LLP
           5
           6    Dated: January 17, 2024                    /s/ Alan J. Gordee
                                                                          Alan J. Gordee
           7                                               Attorneys for Defendants GIULIANI
                                                           PARTNERS, LLC; GIULIANI GROUP,
           8                                               LLC; GIULIANI SECURITY & SAFETY,
                                                           LLC; and ROBERT J. COSTELLO
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                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
           Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 4 of 32 Page ID #:105


           1                                                   TABLE OF CONTENTS
           2   MEMORANDUM OF POINTS AND AUTHORITIES ........................................................ 1
           3   I.       INTRODUCTION .......................................................................................................... 1
           4   II.      FACTUAL ALLEGATIONS ......................................................................................... 2
           5        A. Jurisdictional Allegations................................................................................................ 2
           6        B. Pertinent Substantive Allegations ................................................................................... 3
           7        C. Pertinent SLAPP Allegations .......................................................................................... 5
           8   III. LEGAL ARGUMENT .................................................................................................... 5
           9        A. The Court Lacks Jurisdiction Over Defendants .............................................................. 5
         10                1. There Is No General Personal Jurisdiction Over The Defendants ......................... 6
         11                2. There Is No Specific Personal Jurisdiction Over The Defendants ......................... 7
         12         B. The Complaint Fails To State A Claim On Which Relief Can Be Granted ................... 9
         13                1. The Giuliani Companies Must Be Dismissed As A Matter Of Law .................... 11
         14                2. The Complaint Fails To Otherwise Adequately Plead The Claims For Relief .... 14
         15                     a. The CFAA claim is barred by limitations ....................................................... 14
         16                     b. All of the claims are too vague to pass Rule 12(b)(6) and Rule 9(b) scrutiny 15
         17                         i. The CFAA claim ....................................................................................... 16
         18                         ii. The CDAFA claim..................................................................................... 18
         19                         iii. The unfair competition claim .................................................................... 19
         20         C. The Anti-SLAPP Statute Warrants Dismissal .............................................................. 19
         21    IV. CONCLUSION ............................................................................................................. 23
         22
         23
         24
         25
         26
         27
         28

Gordee,
Nowicki &
Blakeney LLP
                                                                                 i
                      DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
           Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 5 of 32 Page ID #:106


           1                                                  TABLE OF AUTHORITIES
           2   Cases
           3   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) ........................................................................... 9
           4   Banc of California, NA v. McDonnell, No. SACV1801194AGADSX, 2018 WL 8693922, at
           5   *4 (C.D. Cal. Nov. 9, 2018) .................................................................................................... 9
           6   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) ........................................................... 9
           7   Berryman v. Merit Property Management, Inc., 152 Cal.App.4th 1544, 1554, 62 Cal.Rptr.3d
           8   177 (2007) ............................................................................................................................. 19
           9   Brand v. Menlove Dodge, 796 F.2d 1070, 1073 (9th Cir.1986)............................................... 6
         10    Brill Media Co., LLC v. TCW Group, Inc., 132 Cal. App. 4th 324, 339 (2005)................... 20
         11    Cafasso, ex rel. United States v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir.
         12    2011) ................................................................................................................................ 11, 13
         13    Core-Vent Corp. v. Nobel Indus. AB, 11 F.3d 1482, 1484 (9th Cir.1993).......................... 5, 7
         14    Craigslist, Inc. v. Mesiab, No. C 08-05064 CW (MEJ), 2009 WL 10710286, at *10 (N.D.
         15    Cal. Sept. 14, 2009) ............................................................................................................... 10
         16    CytoSport, Inc. v. Vital Pharm., Inc., 894 F. Supp. 2d 1285, 1295 (E.D. Cal. 2012) ........... 22
         17    D.C. v. R.R., 182 Cal. App. 4th 1190, 1226 (2010) .............................................................. 21
         18    Dole Food Co. v. Watts, 303 F.3d 1104, 1111 (9th Cir. 2002) ............................................... 8
         19    Dove Audio, Inc. v. Rosenfeld, Meyer & Susman, 47 Cal.App.4th 777 (1996) .................... 21
         20    Ebeid ex rel. United States v. Lungwitz, 616 F.3d 993, 998 (9th Cir. 2010) ......................... 11
         21    E–Fab Inc., v. Accountants, Inc., Servs., 153 Cal.App.4th 1308, 1319, 64 Cal.Rptr.3d 9
         22    (2007) .................................................................................................................................... 23
         23    Farmers Ins. Exchange v. Superior Court, 2 Cal. 4th 377, 383, 6 Cal.Rptr.2d 487, 826 P.2d
         24    730 (1992) ............................................................................................................................. 19
         25    Fox v. Ethicon Endo–Surgery, Inc., 35 Cal. 4th 797, 807, 27 Cal. Rptr. 3d 661, 110 P.3d
         26    914 (2005) ....................................................................................................................... 22, 23
         27    Gates Learjet Corp. v. Jensen, 743 F.2d 1325, 1331 (9th Cir. 1984) ...................................... 6
         28    Geyer v. Ingersoll Publications Co., 621 A.2d 784, 793 (Del. Ch. 1992) ............................ 12

Gordee,
Nowicki &
Blakeney LLP
                                                                                    ii
                    DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
           Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 6 of 32 Page ID #:107


           1   Gilbert v. Sykes, 147 Cal. App. 4th 12, 23 (2007) ................................................................ 21
           2   Graham v. Bank of America, N.A., 226 Cal. App. 4th 594, 610, 172 Cal.Rptr.3d 218 (2014)
           3   ............................................................................................................................................... 19
           4   Graves v. United States, 961 F. Supp. 314, 320 (D.D.C. 1997) ........................................... 13
           5   Halberstam v. Welch, 705 F.2d 472, 477 (D.C. Cir. 1983)................................................... 13
           6   Hall v. Clinton, 285 F.3d 74, 83 (D.C. Cir. 2002) ................................................................ 13
           7   Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 416, 104 S. Ct. 1868, 80
           8   L.Ed.2d 404 (1984) ................................................................................................................. 6
           9   HMS Cap., Inc. v. Laws. Title Co., 118 Cal.App.4th 204, 212 (2004) ................................. 22
         10    Impac Warehouse Lending Grp. v. Credit Suisse First Boston LLC, 270 F. App'x 570, 572
         11    (9th Cir. 2008) ........................................................................................................................ 13
         12    In re Glick, 568 B.R. 634, 662 (Bankr. N.D. Ill. 2017) ........................................................ 12
         13    In re Zoom Video Commc'ns Inc. Priv. Litig., 525 F. Supp. 3d 1017, 1045 (N.D. Cal. 2021)
         14    ............................................................................................................................................... 10
         15    International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).......................................... 6
         16    Jewett v. Capital One Bank, 113 Cal. App. 4th 805, 813 (2003) .......................................... 21
         17    King v. Am. Family Mut. Ins. Co., 632 F.3d 570, 579 (9th Cir. 2011) .................................... 6
         18    Lafayette Morehouse, Inc. v. Chronicle Publishing Co., 37 Cal.App.4th 855, 865 (1995) .. 19
         19    Lake v. Lake, 817 F.2d 1416, 1421 (9th Cir.1987) ................................................................. 7
         20    Leitner v. Sadhana Temple of New York, Inc., No. CV 13-07902 MMM (EX), 2014 WL
         21    12588643, at *16 (C.D. Cal. Oct. 17, 2014) ................................................................... 12, 13
         22    Leon v. Murphy, 988 F.2d 303, 310–11 (2d Cir.1993) ......................................................... 13
         23    Mintz v. Mark Bartelstein & Assocs. Inc., 906 F. Supp. 2d 1017, 1032 (C.D. Cal. 2012) ... 18
         24    Navellier v. Sletten 29 Cal.4th 82, 88 (2002) ........................................................................ 20
         25    Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir. 1993) ....................................................... 11
         26    Norgart v. The Upjohn Co., 21 Cal.4th 383, 398, 87 Cal.Rptr.2d 453, 981 P.2d 79 (1999) 22
         27    Nugard, Inc. v. Uusi-Kertfula, 159 Cal. App. 4th 1027, 1042 (2008) .................................. 21
         28    Picot v. Weston, 780 F.3d 1206, 1214 (9th Cir. 2015) ............................................................ 8

Gordee,
Nowicki &
Blakeney LLP
                                                                                      iii
                    DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
           Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 7 of 32 Page ID #:108


           1   Rosal v. First Fed. Bank of California, 671 F. Supp.2d 1111, 1131 (N.D. Cal. 2009) ........ 23
           2   Sher v. Johnson, 911 F.2d 1357, 1361 (9th Cir.1990) ............................................................. 6
           3   Stewart v. Rolling Stone LLC, 181 Cal. App. 4th 664, 677 (2010) ....................................... 21
           4   Successor Agency to Former Emeryville Redevelopment Agency & City of Emeryville v.
           5   Swagelok Co., No. 3:17-CV-00308-WHO, 2023 WL 3805256, at *4 (N.D. Cal. June 1,
           6   2023) ...................................................................................................................................... 12
           7   Thayer v. Kabateck Brown Kellner LLP, 207 Cal.App.4th 141, 159 (2012) ........................ 22
           8   Ticketmaster L.L.C. v. Prestige Ent. W., Inc., 315 F. Supp. 3d 1147, 1174 (C.D. Cal. 2018)
           9   ............................................................................................................................................... 18
         10    Tidenberg v. Bidz.com, Inc., No. CV085553PSGFMOX, 2009 WL 605249, at *4 (C.D. Cal.
         11    Mar. 4, 2009) ......................................................................................................................... 19
         12    Trinity Risk Mgmt., LLC v. Simplified Lab. Staffing Sols., Inc., 59 Cal. App. 5th 995, 1004
         13    (2021) .................................................................................................................................... 22
         14    Tuazon v. R.J. Reynolds Tobacco Co., 433 F.3d 1163, 1172 (9th Cir.2006) .......................... 6
         15    U.S. ex rel Newsham v. Lockheed Missiles & Space Co., Inc., 190 F.3d 963, 973 (9th Cir.
         16    1999) ...................................................................................................................................... 20
         17    U.S. ex rel. Lee v. SmithKline Beecham, Inc., 245 F.3d 1048, 1052 (9th Cir. 2001)............ 11
         18    United States v. Golden Acres, Inc., 702 F. Supp. 1097, 1104 (D. Del. 1988) ..................... 12
         19    United States v. Nosal, 676 F.3d 854, 859 (9th Cir. 2012) ........................................ 16, 17, 18
         20    Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103 (9th Cir. 2003) ................................. 10
         21    Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 969 (9th Cir. 2010) 9
         22    Walker v. Countrywide Home Loans, Inc., 98 Cal. App. 4th 1158, 1170, 121 Cal.Rptr.2d 79
         23    (2002) .................................................................................................................................... 19
         24    Walling v. Beverly Enters., 476 F.2d 393, 397 (9th Cir. 1973) .............................................. 10
         25    Welter v. Med. Pro. Mut. Ins. Co., No. 22-CV-11047-PBS, 2023 WL 2988627, at *11 (D.
         26    Mass. Feb. 23, 2023) ............................................................................................................. 17
         27    Wimbledon Fund, SPC v. Graybox, LLC, No. CV15-6633-CAS(AJWX), 2016 WL
         28    7444709, at *5 (C.D. Cal. Aug. 31, 2016) ............................................................................ 11

Gordee,
Nowicki &
Blakeney LLP
                                                                                      iv
                    DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
           Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 8 of 32 Page ID #:109


           1   Statutes
           2   18 U.S.C. § 1030(a) ............................................................................................................... 18
           3   18 U.S.C. § 1030(e)(8) .......................................................................................................... 14
           4   18 U.S.C. § 1030(g)............................................................................................................... 14
           5   Rules
           6   Fed. R. Civ. P. 12(b)(6) ..................................................................................... 1, 9, 11, 14, 19
           7   Fed. R. Civ. P. 9(b) ............................................................................................ 1, 9, 10, 11, 14
           8   Fed. R. Civ. P. 9(f) ................................................................................................................ 15
           9   Fed. R. Civ. P. 9(g) .......................................................................................................... 17, 18
         10    Code of Civil Procedure
         11    Cal. Civ. Proc. Code § 425.16 ......................................................................... 2, 19, 20, 21, 23
         12    California Penal Code
         13    Cal. Penal Code § 502 ..................................................................................................... 18, 22
         14    California Civil Code
         15    Cal. Civ. Code § 17208 ......................................................................................................... 22
         16
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                    DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
           Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 9 of 32 Page ID #:110


           1                       MEMORANDUM OF POINTS AND AUTHORITIES
           2     I.     INTRODUCTION
           3            Plaintiff filed this action in retaliation against Defendants 1 for allegedly publishing
           4   materials from the files of the notorious "Biden Laptop.” As widely reported by the press,
           5   Plaintiff, a general-purpose public figure and son of President Biden, abandoned his laptop
           6   computer at a Delaware repair shop. The shop owner turned the Biden Laptop over to the
           7   FBI on or around October 2019 after discovering disturbing material. Soon after, media
           8   outlets gained access to emails and documents found on the Biden Laptop, resulting in a
           9   media storm of allegations against Plaintiff and his father regarding potential foreign
         10    compromise. By April 2021, Plaintiff appeared in a TV interview discussing the Biden
         11    Laptop files found in Delaware and distributed across the internet. Over two years after the
         12    broad dissemination of the Biden Laptop files, Plaintiff filed this lawsuit against Defendants
         13    based on a truly bizarre theory – that the “Biden Laptop” is not really Plaintiff’s laptop, but
         14    rather a laptop masquerading as Biden’s laptop containing salacious files that were falsely
         15    attributed to him intermixed with files supposedly stolen or hacked from him. In this way,
         16    Biden carefully toes the line between disclaiming responsibility for the worst of the Biden
         17    Laptop, while manufacturing standing to sue Defendants by taking ownership of “some”
         18    data that Defendants allegedly “hacked”. See, e.g., Complaint at n. 1.
         19             Biden’s claims are frivolous. But the Court need not reach the merits of the claims
         20    because, as discussed below, there is no plausible allegation or evidence that the Defendants
         21    ever subjected themselves to the jurisdiction of a California court. Second, even if
         22    jurisdiction were proper, Biden’s claims are so implausible as to fail the Twombly
         23    plausibility threshold created by Rule 12(b)(6) as well as the applicable heightened pleading
         24    standard under Rule 9(b), further warranting dismissal. Finally, should the Court reach the
         25    merits of those claims, Biden’s allegations bring this case squarely within the California
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         27
         28             Plaintiff also sued Rudolph W. Giuliani (“Giuliani”). However, the action against Giuliani is stayed
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               due his pending bankruptcy filing in the S.D.N.Y. As a result, Giuliani is not participating in this Motion.
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                      DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 10 of 32 Page ID #:111


           1   Anti-SLAPP statute, which requires Biden to adduce prima facie evidence of his claims and
           2   overcome Defendants’ substantive defenses – a task far too tall for him to accomplish given
           3   that he admits he is “unaware” of how this fantastical chain of events could have happened.
           4   Accordingly, and as discussed in further detail below, the Court should dismiss for lack of
           5   personal jurisdiction or, in the alternative, dismiss for failure to state a claim, or, further in
           6   the alternative, dismiss with prejudice on the merits along with an award of attorneys’ fees
           7   and sanctions pursuant to California Civil Procedure Code § 425.16.
           8    II.     FACTUAL ALLEGATIONS
           9            Defendants will summarize Plaintiff’s pertinent allegations in three categories: (1)
         10    insofar as they are jurisdictional; (2) insofar as they underlie the substantive claims for
         11    relief; and (3) insofar as they relate the arise from speech or conduct protected by the
         12    California Anti-SLAPP statute.
         13             A. Jurisdictional Allegations
         14             Biden makes the following jurisdictional allegations against Defendants:
         15                • “[A] substantial part of the events or omissions giving rise to the claim alleged
         16                    in this complaint occurred” in California. Complaint at ¶ 9.
         17                • “Plaintiff is informed and believes that Defendant Giuliani is a frequent visitor
         18                    to the State of California for both personal and business reasons” and Giuliani
         19                    “was and is the sole member” of the Giuliani Companies. Complaint at ¶¶ 11-
         20                    14.
         21                • The Giuliani Companies and Giuliani are a single business enterprise and
         22                    “operate on a worldwide basis”. Complaint at ¶ 15.
         23                • Costello “acted as an agent of Defendant Giuliani and the Giuliani
         24                    Companies.” Complaint at ¶ 16.
         25    ///
         26    ///
         27    ///
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                      DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 11 of 32 Page ID #:112


           1           • “Plaintiff is informed and believes that Defendants intentionally directed their
           2              actions to California and have therefore subjected themselves to jurisdiction in
           3              California. Defendants have caused and are continuing to cause harm to
           4              Plaintiff with the knowledge and intent that such harm will occur in
           5              California.” Complaint at ¶ 17.
           6           • Biden generally alleges that all Defendants acted in concert with one another
           7              and are, therefore, liable for the acts of one another. Complaint at ¶ 19.
           8        B. Pertinent Substantive Allegations
           9           Biden makes the following pertinent substantive allegations against Defendants:
         10            • “Although the precise timing and manner by which Defendants obtained
         11               Plaintiff’s data remains unknown to Plaintiff,” Defendants have “to some
         12               extent, accessed, tampered with, manipulated, altered, copied and damaged
         13               Plaintiff’s data.” Complaint at ¶ 20.
         14            • John Paul Mac Isaac “sent via FedEx a copy of the data he claimed to have
         15               obtained from Plaintiff to Defendant Costello’s personal residence in New
         16               York on an ‘external drive.’ […] Defendants repeatedly ‘booted up’ the drive;
         17               they repeatedly accessed Plaintiff’s account to gain access to the drive; and
         18               they proceeded to tamper with, manipulate, alter, damage and create ‘bootable
         19               copies’ of Plaintiff’s data over a period of many months, if not years.”
         20               Complaint at ¶ 23.
         21            • “The data Defendant Costello initially received from Mac Isaac was
         22               incomplete, was not forensically preserved, and that it had been altered and
         23               tampered with before Mac Isaac delivered it to Defendant Costello; Defendant
         24               Costello then engaged in forensically unsound hacking activities of his own
         25               that caused further alterations and additional damage to the data he had
         26               received. Discovery is needed to determine exactly what data of Plaintiff
         27               Defendants received, when they received it, and the extent to which it was
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                 DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 12 of 32 Page ID #:113


           1              altered, manipulated and damaged both before and after receipt.” Complaint at
           2              n. 2.
           3           • “By booting up and logging into an ‘external drive’ containing Plaintiff’s data
           4              and using Plaintiff’s username to gain access Plaintiff’s data, Defendant
           5              Costello unlawfully accessed, tampered with and manipulated Plaintiff’s data
           6              in violation of federal and state law. Plaintiff is informed and believes and
           7              thereon alleges that Defendants used similar means to unlawfully access
           8              Plaintiff’s data many times over many months and that their illegal hacking
           9              activities are continuing to this day.” Complaint at ¶ 24.
         10            • “After gaining unlawful access to the data that Mac Isaac claimed to have
         11               obtained from Plaintiff, Defendants spent months analyzing, tampering with,
         12               manipulating, and altering Plaintiff’s data, as well as copying Plaintiff’s data
         13               so that others could engage in these unlawful activities as well.” Complaint at
         14               ¶ 25.
         15            • “Plaintiff is informed and believes and thereon alleges for the past many
         16               months Defendant Giuliani has spent many hours hacking into and
         17               manipulating data that he claims to have been obtained from Plaintiff, making
         18               copies of the data for himself and others to access and analyze, and further
         19               altering, impairing and damaging the data through his unlawful hacking and
         20               manipulation.” Complaint at ¶ 28.
         21            • “Plaintiff is informed and believes and thereon alleges that at least some of the
         22               data that Defendants have accessed, tampered with, manipulated, damaged
         23               and copied without Plaintiff’s authorization or consent originally was stored
         24               on Plaintiff’s electronic devices or storage (including his iPhone and/or
         25               backed-up to Plaintiff’s iCloud storage). On information and belief,
         26               Defendants gained unlawful access to Plaintiff’s data by circumventing
         27               technical or code-based barriers that were designed and intended to prevent
         28               such access or to have others take those steps.” Complaint at ¶ 36.

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                                                           4
                 DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 13 of 32 Page ID #:114


           1                 • “The precise nature and extent of Defendants’ manipulation, tampering,
           2                    alteration, damage and copying of Plaintiff’s data, whether from their copy of
           3                    a hard drive or from Plaintiff’s encrypted ‘iPhone backup’ or from some other
           4                    source, is unknown to Plaintiff due to Defendants’ continuing refusal to return
           5                    the data to Plaintiff so that it can be analyzed or inspected.” Complaint at ¶ 37.
           6             C. Pertinent SLAPP Allegations
           7                 Biden makes the following pertinent allegations against Defendants insofar as it
           8          relates to the exercise of Defendants’ protected Constitutional rights:
           9                 • Plaintiff mentions Defendants’ “public statements” about the Biden Laptop.
         10                     Complaint at ¶ 2.
         11                  • Plaintiff admits the lawsuit is filed in response to Defendants’ “public
         12                     statements and activities” regarding the Biden Laptop. Complaint at ¶ 21.
         13                  • Plaintiff admits that Defendants’ public statements regarding the Biden
         14                     Laptop are a basis for Plaintiff’s evidence of damages. Complaint at ¶ 24.
         15                  • Plaintiff admits Defendants’ public statements, media interviews, and public
         16                     appearances regarding the Biden Laptop are evidence of Defendants’ liability.
         17                     Complaint at ¶¶ 26-31 2
         18    III.      LEGAL ARGUMENT
         19              A. The Court Lacks Jurisdiction Over Defendants
         20              “Where, as here, there is no applicable federal statute governing personal
         21    jurisdiction, the law of the state in which the district court sits applies.” Core-Vent Corp. v.
         22    Nobel Indus. AB, 11 F.3d 1482, 1484 (9th Cir. 1993) (citation omitted). “California's long-
         23    arm statute allows courts to exercise personal jurisdiction over defendants to the extent
         24
                         2
                          In the media article Plaintiff relies on (see Complaint at n. 3, citing to
         25    https://nymag.com/intelligencer/article/hunter-biden-laptop-investigation.html), he misattributes statements
               regarding creating folders called “Salacious Pics” and the “Big Guy” to Costello. Complaint at ¶ 27. As is
         26    clear from this article, these statements were not made by Costello, but by an individual named “Vish
               Burra”. Costello’s “cleaning up” characterized by Biden as “hacking” was, clearly from the context of
         27
               Costello’s statement “I got a wife around here” an attempt to keep disturbing content from the Biden Laptop
         28    from being seen by Costello’s wife. Biden’s misleading and deceptive reliance on this article underscores
               the frivolity of his lawsuit.
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                                                                    5
                      DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 14 of 32 Page ID #:115


           1   permitted by the Due Process Clause of the United States Constitution.” Id. at 1484 (citation
           2   omitted). As the United States Supreme Court has long held, the assertion of personal
           3   jurisdiction over a nonresident defendant will comport with constitutional due process only
           4   if the defendant has sufficient “minimum contacts” with the state such that the maintenance
           5   of the suit does not offend “traditional notions of fair play and substantial justice.”
           6   International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).
           7            Where a defendant moves to dismiss a complaint for lack of personal jurisdiction, the
           8   plaintiff bears the burden of demonstrating that jurisdiction is appropriate. See Sher v.
           9   Johnson, 911 F.2d 1357, 1361 (9th Cir. 1990). There are two types of personal jurisdiction
         10    – general and specific. As discussed below, Plaintiff has pleaded, nor can prove, either of
         11    these theories.
         12                1. There Is No General Personal Jurisdiction Over The Defendants
         13             For general jurisdiction to exist, a defendant must engage in “continuous and
         14    systematic general business contacts”. Helicopteros Nacionales de Colombia, S.A. v. Hall,
         15    466 U.S. 408, 416, 104 S. Ct. 1868, 80 L.Ed.2d 404 (1984). This must rise to a level that
         16    “approximate physical presence” in the forum state, which is a “fairly high” standard. See
         17    Brand v. Menlove Dodge, 796 F.2d 1070, 1073 (9th Cir. 1986); Gates Learjet Corp. v.
         18    Jensen, 743 F.2d 1325, 1331 (9th Cir. 1984). The standard is met only by continuous
         19    corporate operations within a state [so substantial and of such a nature as to justify suit
         20    against a defendant on causes of action arising from dealings entirely distinct from those
         21    activities. See King v. Am. Family Mut. Ins. Co., 632 F.3d 570, 579 (9th Cir. 2011). To
         22    determine whether a nonresident defendant's contacts are sufficiently substantial,
         23    continuous, and systematic, the Ninth Circuit considers their “[l]ongevity, continuity,
         24    volume, economic impact, physical presence, and integration into the state's regulatory or
         25    economic markets.” Tuazon v. R.J. Reynolds Tobacco Co., 433 F.3d 1163, 1172 (9th Cir.
         26    2006).
         27             Here, there is no non-frivolous argument that any of the Defendants are subject to
         28    general jurisdiction in California. As detailed by the Declarations of Rudolph W. Giuliani

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                                                               6
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 15 of 32 Page ID #:116


           1   and Robert J. Costello: (1) the Defendants are all citizens of New York and/or Delaware for
           2   the Giuliani Companies headquarters; (2) the Defendants have hired no employees or
           3   independent contractors to conduct any business on behalf of any Defendant in the State of
           4   California and do not have any employees or independent contractors who reside or operate
           5   in the State of California; (3) the Defendants do not hold any professional licenses from the
           6   State of California, do not have offices in the State of California, and do not have a
           7   registered agent for service of process in California; (4) the Defendants do not own any
           8   property in the State of California have no assets located in the State of California; (5) the
           9   Defendants have never travelled to the State of California in any way relating to or
         10    concerning Hunter Biden, the Biden Laptop, or in any other way relating to or concerning
         11    the allegations made by the Plaintiff in the Complaint; and (6) all of Defendants’ statements
         12    made concerning Hunter Biden, the Biden Laptop, or any other way relating to or
         13    concerning the allegations in the Complaint occurred in the State of New York. See
         14    generally Giuliani Decl.; Costello Decl.
         15           Accordingly, without question, the Court cannot assert general jurisdiction over the
         16    Defendants.
         17              2. There Is No Specific Personal Jurisdiction Over The Defendants
         18           Even if a defendant has not had continuous and systematic contacts with the state
         19    sufficient to confer “general jurisdiction,” a court may exercise “specific jurisdiction” when
         20    the following requirements are met:
         21       (1) The non-resident defendant must purposefully direct his activities or consummate
         22           some transaction with the forum or resident thereof; or perform some act by which
         23           he purposefully avails himself of the privileges of conducting activities in the forum,
         24           thereby invoking the benefits and protections of its laws;
         25       (2) the claim must be one which arises out of or relates to the defendant's forum-related
         26           activities; and
         27       (3) the exercise of jurisdiction must comport with fair play and substantial justice, i.e. it
         28           must be reasonable.

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                                                              7
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 16 of 32 Page ID #:117


           1   Core–Vent Corp., 11 F.3d at 1485 (quoting Lake v. Lake, 817 F.2d 1416, 1421 (9th Cir.
           2   1987)) (quotation marks omitted).
           3          Plaintiff cannot pass the first prong because the only theory that can possibly apply
           4   here—since there is no allegation or suggestion that this case arises from some act or
           5   transaction that occurred in California and, even if there were, this is refuted by the
           6   Declarations as per above—is the “purposeful direction” theory. But as detailed in the
           7   Declarations, neither Giuliani nor Costello even knew that Biden—the son of a longstanding
           8   Delaware senator—had domiciled in the State of California. Giuliani Decl. at ¶ 6; Costello
           9   Decl. at ¶ 6. Knowledge of the alleged tortfeasor that he is directing his tortious conduct
         10    specifically toward a specific forum state wherein the plaintiff is domiciled is essential to
         11    this theory. Dole Food Co. v. Watts, 303 F.3d 1104, 1111 (9th Cir. 2002) (recognizing
         12    requirement only satisfied when defendant knows that plaintiff is resident of state seeking to
         13    assert jurisdiction). Biden has not even pleaded knowledge by the Defendants of his
         14    California domicile.
         15           In fact, Biden’s own pleadings refer to Defendant’s activities as “The Manhattan
         16    Project” because the conduct complained of has occurred almost exclusively in New York.
         17    Complaint at ¶¶ 32-33. Even the new story cited to wherein Costello is alleged to have
         18    made statements that Plaintiff uses in his Complaint supposedly accessing Plaintiff’s files
         19    was from Costello’s home in Manhasset, New York. Complaint at ¶ 24. There are no
         20    allegations whatsoever that connect any of Defendants’ alleged conduct and the State of
         21    California, other than that at some point in the last four years, Plaintiff decided to relocate to
         22    California. Under Plaintiff’s theory of “have tort claim, will travel” he can create
         23    jurisdiction wherever his celebrity lifestyle carries him. This is not the law. Picot v.
         24    Weston, 780 F.3d 1206, 1214 (9th Cir. 2015) (recognizing feeling injury alone in forum
         25    state insufficient for jurisdiction). Thus, Plaintiff also fails to satisfy the second prong cited
         26    above, because his claim did not “arise out of or relate to the defendant's forum-related
         27    activities” because there were no forum-related activities committed by any of the
         28    Defendants.

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                                                               8
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 17 of 32 Page ID #:118


           1          Plaintiff’s jurisdictional allegations are woefully inadequate and, in any event, cannot
           2   be amended to cure the defect because Defendants’ Declarations conclusively negate any
           3   hope of jurisdiction being proper in California. The Court should dismiss for lack of
           4   personal jurisdiction.
           5          B. The Complaint Fails To State A Claim On Which Relief Can Be Granted
           6          Subject to and without waiving their challenge to jurisdiction, Plaintiff has failed to
           7   adequately plead a claim on which relief can be granted. To survive a Rule 12(b)(6) motion
           8   to dismiss for failure to state a claim, a complaint must contain sufficient factual allegations
           9   that, if accepted as true, would state a plausible claim to relief. Ashcroft v. Iqbal, 556 U.S.
         10    662, 678 (2009). “Threadbare recitals of the elements of a cause of action, supported by
         11    mere conclusory statements, do not suffice.” Id. Instead, plaintiffs must “nudge [ ] their
         12    claims across the line from conceivable to plausible.” See Bell Atl. Corp. v. Twombly, 550
         13    U.S. 544, 570 (2007). A claim is plausible on its face “when the plaintiff pleads factual
         14    content that allows the court to draw the reasonable inference that the defendant is liable for
         15    the misconduct alleged.” Iqbal, 556 U.S. at 678. Moreover, “[a] claim may be dismissed
         16    under Rule 12(b)(6) on the ground that it is barred by the applicable statute of limitations ...
         17    when the running of the statute is apparent on the face of the complaint.” Von Saher v.
         18    Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 969 (9th Cir. 2010) (internal
         19    quotation and citation omitted).
         20                  As discussed below, the Complaint fails to satisfy the baseline Rule 12(b)(6)
         21    standard. However, Biden’s claims are subject to an even higher standard. Each and every
         22    one of his causes of action are subject to the heightened pleading standard of Rule 9(b),
         23    which governs allegations alleging fraudulent conduct:
         24           (1) the CFAA claim (First Claim for Relief) is based on allegations of fraudulent
         25              conduct (Complaint at ¶ 42, “Defendants have violated the CFAA, specifically
         26              section 1030(a)(4) of the CFAA, by knowingly and with intent to defraud…”)).
         27              Such a claim is subject to Rule 9(b). See Banc of California, NA v. McDonnell,
         28              No. SACV1801194AGADSX, 2018 WL 8693922, at *4 (C.D. Cal. Nov. 9, 2018)

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                                                              9
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 18 of 32 Page ID #:119


           1             (“Because BOC's CFAA claims are based on a unified course of fraudulent
           2             conduct, the claims are grounded in fraud and are subject to Rule 9(b)'s
           3             heightened pleading standard.”);
           4          (2) the CDAFA claim (Second Claim for Relief) is based on allegations of fraudulent
           5             conduct (Complaint at ¶ 46, “Defendants have violated California Penal Code §
           6             502(c)(1) by knowingly accessing and without permission taking and using data
           7             from Plaintiff’s devices or “cloud” storage to devise or execute a scheme to
           8             defraud or deceive…”). Such a claim is subject to Rule 9(b). See Craigslist, Inc.
           9             v. Mesiab, No. C 08-05064 CW (MEJ), 2009 WL 10710286, at *10 (N.D. Cal.
         10              Sept. 14, 2009), report and recommendation adopted, No. 08-05064 CW, 2009
         11              WL 10710276 (N.D. Cal. Oct. 19, 2009) (applying Rule 9(b) to CDAFA claim);
         12              and
         13           (3) the unfair competition claim (Third Claim for Relief) is based on allegations of
         14              the fraudulent conduct involved in the CFAA claim and the CCDAFA claim
         15              (Complaint at ¶¶ 54-58). In such a case, Rule 9(b) also applies to the unfair
         16              competition claim. See In re Zoom Video Commc'ns Inc. Priv. Litig., 525 F.
         17              Supp. 3d 1017, 1045 (N.D. Cal. 2021) (applying Rule 9(b) to unfair competition
         18              claims).
         19           It is also well established that “Rule 9(b)’s particularity requirement applies to state-
         20    law causes of action” in addition to federal ones. Vess v. Ciba-Geigy Corp. USA, 317 F.3d
         21    1097, 1103 (9th Cir. 2003). Federal Rule of Civil Procedure 9(b) applies not just where a
         22    complaint specifically alleges fraud as an essential element of a claim, but also where the
         23    claim is “grounded in fraud” or “[sounds] in fraud.” Id. at 1103–04. A claim is said to be
         24    “grounded in fraud” or “‘sounds in fraud’” where a plaintiff alleges that defendant engaged
         25    in fraudulent conduct and relies on that conduct to prove a claim, as Biden does here. Id.
         26           A pleading is sufficient under Fed. R. Civ. P. 9(b) if it “[identifies] the circumstances
         27    constituting fraud so that the defendant can prepare an adequate answer from the
         28    allegations.” Walling v. Beverly Enters., 476 F.2d 393, 397 (9th Cir. 1973). Thus, Rule 9(b)

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                                                              10
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 19 of 32 Page ID #:120


           1   requires a plaintiff to “identify the ‘who, what, when, where and how of the misconduct
           2   charged,’ as well as ‘what is false or misleading about [the purportedly fraudulent conduct],
           3   and why it is false.’” Cafasso, ex rel. United States v. Gen. Dynamics C4 Sys., Inc., 637
           4   F.3d 1047, 1055 (9th Cir. 2011) (quoting Ebeid ex rel. United States v. Lungwitz, 616 F.3d
           5   993, 998 (9th Cir. 2010)). “Rule 9(b) may be relaxed to permit discovery in a limited class of
           6   corporate fraud cases where the evidence of fraud is within a defendant's exclusive
           7   possession.” U.S. ex rel. Lee v. SmithKline Beecham, Inc., 245 F.3d 1048, 1052 (9th Cir.
           8   2001). However, “this exception does not nullify Rule 9(b); a plaintiff who makes
           9   allegations on information and belief must state the factual basis for the belief.” Neubronner
         10    v. Milken, 6 F.3d 666, 672 (9th Cir. 1993). This is not a corporate fraud case and surely
         11    Biden is aware of what materials circulating from the “Biden Laptop” are his and which are
         12    imposter materials. As discussed below, Biden fails to satisfy Rule 12(b)(6)’s basic
         13    requirements, much less Rule 9(b)’s heightened requirements.
         14                  1. The Giuliani Companies Must Be Dismissed As A Matter Of Law
         15           As an initial matter, Biden makes no allegation whatsoever tying any specific actions
         16    of Giuliani to the Giuliani Companies. See generally Complaint. Biden does not allege, for
         17    example, that Giuliani was acting in a representative capacity for any of the Giuliani
         18    Companies when he committed any of the actions complained of in the Complaint. See
         19    generally Complaint. He further never alleges that Costello acted as agent for any of the
         20    Giuliani Companies. See generally Complaint. This leaves only one possible theory of
         21    liability for the Giuliani Companies – either alter ego or conspiracy. Biden makes
         22    conclusory allegations as to alter ego and conspiracy in the Complaint, but these are
         23    insufficient to plead plausible facts to give rise to liability on the part of the Giuliani
         24    Companies.
         25           In this Circuit, a plaintiff alleging alter ego must also satisfy the heightened pleading
         26    requirements of Fed. R. Civ. P. 9(b). Wimbledon Fund, SPC v. Graybox, LLC, No. CV15-
         27    6633-CAS(AJWX), 2016 WL 7444709, at *5 (C.D. Cal. Aug. 31, 2016) (collecting multiple
         28    9th Circuit cases). California courts look to the law of the state of formation when assessing

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                                                               11
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 20 of 32 Page ID #:121


           1   veil piercing, because that state has a “substantial interest in determining whether to pierce
           2   the corporate veil of one of its” business entities. Leitner v. Sadhana Temple of New York,
           3   Inc., No. CV 13-07902 MMM (EX), 2014 WL 12588643, at *16 (C.D. Cal. Oct. 17, 2014).
           4   Therefore, Delaware law applies to the alter ego claims since the Giuliani Companies are
           5   incorporated in Delaware. Complaint at ¶¶ 12-14; Giuliani Decl. Here, Biden does not
           6   allege that any of the Giuliani Companies committed any wrongful conduct, but rather
           7   alleges that they are liable for the actions of Giuliani. Complaint at ¶¶ 15, 17. This type of
           8   piercing is called “reverse” piercing. Leitner, 2014 WL 12588643 at *15. But Delaware—
           9   like California—has not recognized reverse piercing, and this is fatal to Biden’s attempts at
         10    hanging liability on the Giuliani Companies for Giuliani’s actions committed in his
         11    individual capacity. See In re Glick, 568 B.R. 634, 662 (Bankr. N.D. Ill. 2017) (“Because
         12    Delaware law does not recognize reverse piercing, Gierum has no piercing remedy under
         13    Delaware law[.]”). Accordingly, Biden cannot attach liability to the Giuliani Companies
         14    through a reverse piercing theory based on Giuliani’s actions.
         15           However, even Delaware recognized reverse piercing, Biden’s bare conclusory
         16    allegations fall far short of the mark to establish alter ego liability. See Complaint at ¶ 15.
         17    Delaware law permits a court to traditionally pierce a corporate veil “where there is fraud or
         18    where [the corporation] is in fact a mere instrumentality or alter ego of its owner.” Geyer v.
         19    Ingersoll Publications Co., 621 A.2d 784, 793 (Del. Ch. 1992). Under Delaware law, courts
         20    look at “whether the corporation was adequately capitalized for the corporate undertaking;
         21    whether the corporation was solvent; whether dividends were paid, corporate records kept,
         22    officers and directors functioned properly, and other corporate formalities were observed;
         23    whether the dominant shareholder siphoned corporate funds; and whether, in general, the
         24    corporation simply functioned as a facade for the dominant shareholder.” United States v.
         25    Golden Acres, Inc., 702 F. Supp. 1097, 1104 (D. Del. 1988). A plaintiff must also allege
         26    some sort of intent to perpetuate at fraud with specificity. See Successor Agency to Former
         27    Emeryville Redevelopment Agency & City of Emeryville v. Swagelok Co., No. 3:17-CV-
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                                                              12
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 21 of 32 Page ID #:122


           1   00308-WHO, 2023 WL 3805256, at *4 (N.D. Cal. June 1, 2023) (observing that California
           2   and Delaware alter ego law is the same).
           3          The only allegation Biden makes that comes close to approaching a relevant
           4   accusation for alter ego liability is that “upon information and belief, the Giuliani
           5   Companies also have intermingled bank accounts.” Complaint at 15. Biden fails to
           6   disclose the “‘who, what, when, where and how” of this singular allegation or the basis of
           7   the supposed “information and belief”. See Cafasso, 637 F.3d at 1055. This falls far short
           8   of the heightened pleading requirements imposed by Rule 9(b). Accordingly, the Court
           9   should dismiss all claims against the Giuliani Companies on the basis of alter ego. See
         10    Leitner, 2014 WL 12588643 at *16-17 (holding that conclusory allegations of
         11    “commingling assets” were too conclusory to survive a motion to dismiss).
         12           This leaves only a conspiracy claim – but Biden does not include a cause of action
         13    for civil conspiracy in his Complaint. See generally Complaint. To plausibly allege civil
         14    conspiracy, plaintiffs must allege Defendants had “an agreement to take part in an unlawful
         15    action or a lawful action in an unlawful manner.” Hall v. Clinton, 285 F.3d 74, 83 (D.C.
         16    Cir. 2002). The elements of civil conspiracy consist of: (1) an agreement between two or
         17    more persons; (2) to participate in an unlawful act, or a lawful act in an unlawful manner;
         18    (3) an injury caused by an unlawful overt act performed by one of the parties to the
         19    agreement; (4) which overt act was done pursuant to and in furtherance of the common
         20    scheme. See Halberstam v. Welch, 705 F.2d 472, 477 (D.C. Cir. 1983). A plaintiff must
         21    allege a “meeting of the minds” as to some improper purpose, as it is an essential element of
         22    a conspiracy claim. See Graves v. United States, 961 F. Supp. 314, 320 (D.D.C. 1997). A
         23    plaintiff must also allege a causal connection between the overt act(s) taken in furtherance
         24    of the conspiracy and the alleged injury. See id. at 321. Moreover, the plaintiff must allege
         25    these elements with particularity. See Leon v. Murphy, 988 F.2d 303, 310–11 (2d Cir.
         26    1993). Conclusory allegations of conspiracy are insufficient under notice pleading, much
         27    less the heightened pleading requirements of Rule 9(b), which applies to conspiracy claims
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                                                              13
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 22 of 32 Page ID #:123


           1   involving allegations of fraud, as is the case here. Impac Warehouse Lending Grp. v. Credit
           2   Suisse First Boston LLC, 270 F. App'x 570, 572 (9th Cir. 2008).
           3           Biden has one boilerplate conspiracy allegation in his Complaint, that makes general
           4   conclusory allegations regarding the Defendants’ involvement in a conspiracy. See
           5   Complaint at ¶ 19. This allegation is woefully inadequate under either Rule 12(b)(6) or
           6   Rule 9(b) to attach conspiracy liability to any Defendant. Therefore, the Giuliani
           7   Companies must be dismissed as there is no plausible theory of liability that can attach to
           8   them.
           9               2. The Complaint Fails To Otherwise Adequately Plead The Claims For
         10                    Relief
         11            Regardless of which Defendant the Complaint is referring to, it completely fails to
         12    plead an adequate set of facts to put Defendants on notice of what they have supposedly
         13    done. According to Biden, he is oblivious to what information Defendants have of his or
         14    how exactly they got it. See, e.g., Complaint at ¶ 37. Such a pleading, on its face, cannot
         15    possibly satisfy the heightened pleading requirements of Rule 9(b) or general requirements
         16    of Rule 12(b)(6). For all of the reasons discussed below, the Court should dismiss Biden’s
         17    Complaint for failure to adequately plead a claim for which relief can be granted.
         18                    a. The CFAA claim is barred by limitations
         19            Under the CFAA, the statute of limitations begins to run as of “the date of the act
         20    complained of or the date of the discovery of the damage.” 18 U.S.C. § 1030(g). The term
         21    “damage,” is specially defined in the CFAA and “means any impairment to the integrity or
         22    availability of data, a program, a system, or information[.]” 18 U.S.C. § 1030(e)(8). These
         23    are the types of damages that Biden claims Defendants caused: (1) “total annihilation” of
         24    Biden’s “digital privacy”; (2) a failure to return Biden’s data 3; and (3) that the 79-year old
         25    former mayor of New York inexplicably turned into tech-savvy “hacker” Giuliani spends
         26
         27            3
                          What “data” this is, we aren’t told. As discussed below Biden never tells us in the Complaint what
         28    data is his and what data is not his (e.g., evidence of pornography, drug use, emails and other information used
               by the DOJ to indict him).
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                                                                     14
                   DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 23 of 32 Page ID #:124


           1   “hours hacking into and manipulating data that he claims to have been obtained from
           2   Plaintiff, making copies of the data for himself and others to access and analyze, and further
           3   altering, impairing and damaging the data through his unlawful hacking and manipulation”
           4   and carries around a copy of the hard drive on his person “so that he can continuously
           5   access, tamper with and manipulate the data whenever and wherever he desires” for
           6   apparent recreational purposes. Complaint at ¶¶ 1, 4, 28-31.
           7          Plaintiff was well aware of his “damages” well over two years from the date of filing
           8   of this lawsuit, which was on September 26, 2023. Doc. 1. Plaintiff’s own news story he
           9   cites to details the long “sordid” history of the Biden Laptop story, which made
         10    international headlines in September of 2020 by various news outlets and dates back to
         11    April 2019 when the Biden Laptop was alleged to have been dropped at a Delaware repair
         12    shop. Complaint at n. 3 (citing https://nymag.com/intelligencer/article/hunter-biden-laptop-
         13    investigation.html). Moreover, As demonstrated by the Request for Judicial Notice filed
         14    herewith, Biden himself went on the talk show circuit in April 2021 to discuss his book and
         15    was clearly aware of the salacious allegations pertaining to the Laptop that he now sues
         16    over, calling it a “red herring”, disclaiming knowledge of whether it was his, and stating he
         17    was “within his rights to question anything that came from the desk of Rudy Giuliani”. See
         18    RJC (citing https://youtu.be/ia219GD0Vok?si=vYIq8CMZxbBYVrRP (beginning at 10:24
         19    and ending at 11:10)). There is no question that, well before two years—and likely much
         20    longer—that Biden knew of the “damages” of supposed compromising and dissemination of
         21    his data was taking place. Biden would have been “within his rights” to sue in April 2021,
         22    but instead he feigned ignorance, and it was not until the Laptop data was authenticated as
         23    his that his ignorance evolved into retaliatory litigation. This claim is time barred.
         24                  b. All of the claims are too vague to pass Rule 12(b)(6) and Rule 9(b)
         25                      scrutiny
         26           Biden’s Complaint is far too vague to survive dismissal. By way of example,
         27    Biden’s Complaint contains multiple glaring omissions that are essential to adequately plead
         28    his claims for relief (see Fed. R. Civ. P. 9(f)):

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                                                               15
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 24 of 32 Page ID #:125


           1             • Biden fails to plead which hard drive, laptop, or other electronic device or
           2                 storage mechanism that belonged to him was supposedly hacked. Was there
           3                 ever a laptop containing the information he now complains over? A desk top?
           4                 A phone? A tablet? External hard drive? Cloud storage? How can Biden
           5                 know anything was hacked if he doesn’t know what device on which he stored
           6                 the data that Defendants now allegedly wrongfully possess.
           7             • Biden fails to plead when the alleged hacking occurred. What year was it?
           8                 Did he ever provide a laptop to a repair shop in Delaware? Was there ever
           9                 any event where he realized his electronic data was compromised? What
         10                  measures were in place to protect the data on whatever device(s) supposedly
         11                  were hacked?
         12              • Biden fails to plead what of that data that is circulating in the public domain is
         13                  his data and what information is not his data. Biden claims that some, but not
         14                  all of the data Defendants allegedly possess is his. What data is it? Surely, he
         15                  must know if he brought this lawsuit. But there is not a single piece of data
         16                  that Biden identifies in the Complaint as: (1) belonging to him; (2) in the
         17                  possession of the Defendants; that was (3) hacked/stolen/wrongfully taken
         18                  from a computer owned by Biden.
         19           As a result, Biden cannot satisfy his Rule 9(b) and Rule 12(b)(6) pleading
         20    requirements under any of his claims. He has not detailed with specificity the material facts
         21    underlying his causes of action based on Defendants’ supposed fraudulent scheme and/or
         22    conspiracy to commit the wrongful conduct complained of. In addition, as discussed in
         23    greater detail below, Biden’s claims are otherwise fatally defective as follows:
         24                         i. The CFAA claim
         25           As for the CFAA claim, Biden is required to plead specific plausible facts that
         26    Defendants hacked into his computer without authorization or beyond the scope of
         27    authorization. See United States v. Nosal, 676 F.3d 854, 859 (9th Cir. 2012). Given that
         28    Biden pleads he never authorized Defendants to access his computer, this would put

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                                                             16
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 25 of 32 Page ID #:126


           1   Defendants in the category of “outside hacker”. See id. at 859 (“[W]ithout authorization”
           2   would apply to outside hackers (individuals who have no authorized access to the computer
           3   at all) and “exceeds authorized access” would apply to inside hackers (individuals whose
           4   initial access to a computer is authorized but who access unauthorized information or
           5   files).”); Complaint at ¶35. But Biden has pleaded himself out of this claim by admitting
           6   repeatedly that Defendants received a “copy” of a supposedly hacked hard drive from a
           7   Delaware shop owner and that they received the data in an already “hacked”,
           8   “manipulated”, “altered”, and “damaged” form. See, e.g., Complaint at ¶ 2.
           9          This is fatal to Biden’s claims because he is essentially adopting the position that the
         10    Ninth Circuit rejected in Nosal, which is that a party may be liable under the CFAA for
         11    possessing and/or using data that was hacked by a third party. In rejecting this argument,
         12    the Nosal court recognized that Biden's “construction of the statute would expand its scope
         13    far beyond computer hacking to criminalize any unauthorized use of information obtained
         14    from a computer.” Nosal, 676 F.3d at 859. Because Biden has not and cannot allege that
         15    any of the Defendants accessed his computer without authorization (hacked his computer),
         16    as opposed to benefiting from information obtained by someone who did violate the CFAA
         17    (the mysterious and anonymous “hacker” Biden has yet to identify), his CFAA must be
         18    dismissed.
         19           Even if his vague allegations mustered liability, Biden has not adequately pleaded his
         20    damages under the CFAA. In one conclusory sentence in the Complaint, he claims “direct
         21    costs” incurred in “investigating and responding” to Defendants’ conduct. Complaint at ¶
         22    43. These “special damages” must be pleaded with particularity. Fed. R. Civ. P. 9(g).
         23    Conclusory statements are insufficient. See Welter v. Med. Pro. Mut. Ins. Co., No. 22-CV-
         24    11047-PBS, 2023 WL 2988627, at *11 (D. Mass. Feb. 23, 2023) (dismissing CFAA claim
         25    where “the [complaint] contains no allegation that the purported CFAA violation 1) affected
         26    or impaired [plaintiff's] ability to use any computer; 2) required [plaintiff] to engage in any
         27    computer forensics or computer repair; or 3) forced him to incur costs due to an inoperative
         28

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                                                              17
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 26 of 32 Page ID #:127


           1   computer system.”) (citations omitted). Therefore, for this additional reason, the CFAA
           2   must also be dismissed. 4
           3                           ii. The CDAFA claim
           4           The CDAFA is California's state-law analogue to the CFAA. See Ticketmaster
           5   L.L.C. v. Prestige Ent. W., Inc., 315 F. Supp. 3d 1147, 1174 (C.D. Cal. 2018). The statutory
           6   language and defined terms are nearly identical. Compare Cal. Penal Code § 502(c) (1)–
           7   (13) with 18 U.S.C. § 1030(a). Just like the CFAA, the CDAFA requires that Defendants
           8   have engaged in unauthorized access (hacking) of a computer (see generally Cal. Penal
           9   Code § 502(c)(1)– (13)) and just like with the CFAA claim Biden has not and cannot plead
         10    such facts. There is no authority holding that the CDAFA is—unlike its progenerating
         11    federal counterpart the CFAA—should be “transform[ed] […] from an anti-hacking statute
         12    into an expansive misappropriation statute.” Nosal, 676 F.3d at 857. Simply, put the
         13    CDAFA and the CFAA do not create vicarious liability for receiving “hacked” data.
         14    Accordingly, Biden’s CDAFA fails for the same reasons as argued above in reference to the
         15    CFAA.
         16            Finally, Biden, like with the CFAA, fails to adequately plead damages arising from
         17    the CDAFA claim. Biden simply pleads that “Defendants have caused damage to Plaintiff
         18    in an amount to be proven at trial.” Complaint at ¶ 50. Biden, however, must plead with
         19    greater specificity the details of his alleged damages resulting from Defendants’ conduct.
         20    See Fed. R. Civ. P. (9)(g). Biden has made nothing more than a conclusory allegation of
         21    damages and, therefore, cannot establish has a right to even assert a civil claim under the
         22    CDAFA. See Mintz v. Mark Bartelstein & Assocs. Inc., 906 F. Supp. 2d 1017, 1032 (C.D.
         23    Cal. 2012) (denying motion to dismiss CDAFA claim where plaintiff specifically detailed
         24    damages allegedly suffered from CDAFA violation). Accordingly, the CDAFA claim
         25    should be dismissed.
         26
                       4
                        And under this same rationale, how can Defendants possibly be subject to the CDAFA—a California
         27
               criminal statute—for actions that occurred entirely on the East Coast, simply because Biden—at a date
         28    unclear—moved to California before filing this suit? The reasons why the unfair competition law cannot apply
               to Defendants underscore the jurisdictional problem with Biden’s Complaint.
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                                                                   18
                   DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 27 of 32 Page ID #:128


           1                        iii. The unfair competition claim
           2          As pled, the unfair competition claim is dependent on the success of the CFAA and
           3   the CDAFA claims. Complaint at ¶¶ 54-58. Therefore, because those claims should be
           4   dismissed as per above, so should the unfair competition claim since this cause of action is
           5   depending on a “‘violation of another law [as] a predicate for stating a cause of action under
           6   the UCL's unlawful prong.’” Graham v. Bank of America, N.A., 226 Cal. App. 4th 594, 610
           7   (2014) (quoting Berryman v. Merit Property Management, Inc., 152 Cal. App .4th 1544,
           8   1554 (2007)). “The unfair competition law thus creates an independent action when a
           9   business practice violates some other law.” Walker v. Countrywide Home Loans, Inc., 98
         10    Cal. App. 4th 1158, 1170 (2002) (citing Farmers Ins. Exchange v. Superior Court, 2 Cal.
         11    4th 377, 383 (1992)).
         12           However, even were this not true, this Court has previously held that California
         13    unfair competition law does not apply to non-California residents for conduct occurring
         14    outside of California. Tidenberg v. Bidz.com, Inc., No. CV085553PSGFMOX, 2009 WL
         15    605249, at *4 (C.D. Cal. Mar. 4, 2009) (“The critical issues here are whether the injury
         16    occurred in California and whether the conduct of Defendants occurred in California. If
         17    neither of these questions can be answered in the affirmative, then Plaintiff will be
         18    unable to avail herself of these laws.”) (emphasis added). Accordingly, even were the
         19    CFAA and CDAFA claims survived—which they do not—this unfair competition claim
         20    cannot.
         21           C. The Anti-SLAPP Statute Warrants Dismissal
         22           Subject to their jurisdictional challenge and their challenge under Rule 12(b)(6),
         23    Defendants further contend that Civil Procedure Code § 425.16 (the Anti-SLAPP statute)
         24    applies to Biden’s state law claims. Section 425.16 is a procedural remedy designed to
         25    quickly dispose of lawsuits that infringe upon the valid exercise of constitutional rights.
         26    Lafayette Morehouse, Inc. v. Chronicle Publishing Co., 37 Cal. App. 4th 855, 865 (1995).
         27    Section 425.16(b)(1) provides: “A cause of action against a person arising from any act of
         28    that person in furtherance of the person’s right of petition or free speech under the United

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Blakeney LLP
                                                             19
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 28 of 32 Page ID #:129


           1   States or California Constitution in connection with a public issue shall be subject to a
           2   special motion to strike, unless the court determines that the plaintiff has established that
           3   there is a probability that the plaintiff will prevail on the claim.”
           4          The statute further clarifies that an “act in furtherance of a person's right of petition
           5   or free speech under the United States or California Constitution in connection with a public
           6   issue” includes “any written or oral statement or writing made in a place open to the public
           7   or a public forum in connection with an issue of public interest” or “any other conduct in
           8   furtherance of the exercise of the constitutional right of petition or the constitutional right of
           9   free speech in connection with a public issue or an issue of public interest.” Id. at
         10    425.16(e). The Anti-SLAPP statute applies with equal vigor in federal court as to any and
         11    all state and common law claims. See U.S. ex rel Newsham v. Lockheed Missiles & Space
         12    Co., Inc., 190 F.3d 963, 973 (9th Cir. 1999) (upholding the application of the anti-SLAPP
         13    statute in federal court since, inter alia, “the twin purposes of the Erie rule—
         14    “discouragement of forum-shopping and avoidance of inequitable administration of the
         15    law”—favor application of California's Anti–SLAPP statute in federal cases.).
         16           In determining whether to grant an anti-SLAPP motion, courts engage in a two-step
         17    process. First, the court decides whether the moving party has made a threshold showing
         18    that the challenged cause of action is one arising from protected activity, i.e., whether the
         19    activity fits one of the four categories enumerated at section 425.16(e). Navellier v. Sletten
         20    29 Cal. 4th 82, 88 (2002). In determining whether Defendants have sustained their initial
         21    burden, the Court should consider the pleadings, declarations, and matters that may be
         22    judicially noticed. Brill Media Co., LLC v. TCW Group, Inc., 132 Cal. App. 4th 324, 339
         23    (2005). Here, there is no question—by Biden’s own admissions in his Complaint (see, e.g.,
         24    ¶¶ 2, 21, 24, 26-31)—that this entire lawsuit arises from, is based on, and in response to
         25    Defendants public statements regarding Biden and the Biden Laptop. A statement in a
         26    public forum is connected to an issue of public interest “if the subject of the activity
         27    underlying the claim (1) was a person or entity in the public eye; (2) could affect large
         28    numbers of people beyond the direct participants; or (3) involved a topic of widespread,

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                                                               20
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 29 of 32 Page ID #:130


           1   public interest.” See D.C. v. R.R., 182 Cal. App. 4th 1190, 1226 (2010) (citing Jewett v.
           2   Capital One Bank, 113 Cal. App. 4th 805, 813 (2003)). At minimum, Defendants
           3   statements referenced in the Complaint are on a matter of public concern – whether a sitting
           4   president’s son (a public figure) was involved in illicit activities evidenced by his
           5   abandoned hard drive. Finally, the allegations that Defendants invited others to allegedly
           6   examine Biden’s data (the “Manhattan Project” hacking gatherings) and disseminating the
           7   data to news outlets and other third parties is clearly conduct in furtherance of their
           8   protected rights of free speech and association.
           9          Courts must construe the public issue/public interest’ requirement of the anti-SLAPP
         10    statute broadly. See Gilbert v. Sykes, 147 Cal. App. 4th 12, 23 (2007) (citation omitted).
         11    And, as courts have held, conduct is made “in connection with a public issue or an issue of
         12    public interest,” as required by Cal. Civ. Proc. Code § 425.16(e)(4), “if the conduct
         13    concerns a topic of widespread public interest and contributes in some manner to a public
         14    discussion of the topic.” Stewart v. Rolling Stone LLC, 181 Cal. App. 4th 664, 677 (2010).
         15    Indeed, as one court has succinctly put it, an issue of public interest is “any issue in which
         16    the public is interested.” Nugard, Inc. v. Uusi-Kertfula, 159 Cal. App. 4th 1027, 1042
         17    (2008) (emphasis in original). The Anti-SLAPP statute, therefore, unquestionably applies
         18    to both state law causes of action that Biden has pleaded as they are all based on these
         19    “SLAPP” allegations regarding Defendants’ public speech to news agencies, speech on a
         20    matter of interest to the public, and conduct in furtherance of these rights. See Complaint at
         21    ¶¶ 2, 21, 24, 26-31.
         22           Once the moving party establishes that the lawsuit arises from protected activity, the
         23    burden shifts to plaintiffs to show through competent evidence a probability that they will
         24    succeed on their claim. See generally Dove Audio, Inc. v. Rosenfeld, Meyer & Susman, 47
         25    Cal. App. 4th 777 (1996); Cal. Civ. Proc. Code § 425.16(a). Therefore, Biden must
         26    demonstrate through competent evidence a probability that he will succeed on his state law
         27    claims. Id. That probability of prevailing includes a “prima facie factual showing”
         28    sufficient to demonstrate that Biden could obtain a judgment on his claim. See Trinity Risk

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                                                              21
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 30 of 32 Page ID #:131


           1   Mgmt., LLC v. Simplified Lab. Staffing Sols., Inc., 59 Cal. App. 5th 995, 1004 (2021),
           2   review denied (Apr. 21, 2021) (collecting cases)). Thus, Biden has the burden of
           3   establishing—not merely alleging—that each element of his state law claims (the CDAFA
           4   and unfair competition claims) is legally sufficient and factually substantiated. Id. For the
           5   reasons detailed above in the argument section regarding failure to state a claim on which
           6   relief can be granted, Biden’s claims are legally insufficient and should be dismissed under
           7   the Anti-SLAPP statute as a matter of law.
           8          However, if they are not barred as a matter of law, this motion becomes an
           9   evidentiary one and to survive it Biden “must produce evidence that would be admissible at
         10    trial” to survive dismissal. HMS Cap., Inc. v. Laws. Title Co., 118 Cal. App. 4th 204, 212
         11    (2004). Biden, therefore, must now make a prima facie evidentiary showing of facts that
         12    would, if proved at trial, support a judgment in his favor on all of his claims. Thayer v.
         13    Kabateck Brown Kellner LLP, 207 Cal. App. 4th 141, 159 (2012). Biden will be required to
         14    adduce evidence proving each and every element of his state law claims for relief including,
         15    but not limited to, causation and damages, as well as the answers to all of the “who”,
         16    “what”, “how”, “when” questions outlined above in the argument section regarding failure
         17    to state a claim on which relief can be granted.
         18           In addition, “[t]o defeat an anti-SLAPP motion, [a plaintiff] must overcome any
         19    substantive defenses Plaintiff Creek must overcome the statute of limitations as to all the
         20    SLAPP Claims. Trinity Risk Mgmt., 59 Cal. App. 5th at 1006. For the CDAFA claim, the
         21    statute of limitation is three years. See Cal. Pen. Code § 502(e)(5). The statute of
         22    limitations for California unfair competition actions is four years. See CytoSport, Inc. v.
         23    Vital Pharm., Inc., 894 F. Supp. 2d 1285, 1295 (E.D. Cal. 2012); Cal. Civ. Code § 17208. In
         24    California, a party is deemed to have discovered the fraud when it “‘has reason at least to
         25    suspect the factual basis for its elements.’” Fox v. Ethicon Endo–Surgery, Inc., 35 Cal. 4th
         26    797, 807 (2005) (quoting Norgart v. The Upjohn Co., 21 Cal. 4th 383, 398 (1999)). This
         27    rule “delays accrual until the plaintiff has, or should have, inquiry notice of the cause of
         28    action.” Id. Accordingly, plaintiffs “are charged with presumptive knowledge of an injury if

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                                                              22
                  DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 31 of 32 Page ID #:132


           1   they have information of circumstances to put them on inquiry or if they have the
           2   opportunity to obtain knowledge from sources open to their investigation.” Rosal v. First
           3   Fed. Bank of California, 671 F. Supp. 2d 1111, 1131 (N.D. Cal. 2009) (citing Fox, 35 Cal.
           4   4th at 897–98). A party relying on the delayed discovery rule must plead facts showing the
           5   time and manner of the discovery and the inability to have made earlier discovery despite
           6   reasonable diligence; conclusory allegations are not sufficient. E–Fab Inc., v. Accountants,
           7   Inc., Servs., 153 Cal. App. 4th 1308 (2007). Accordingly, even if Biden adduces prima
           8   facie evidence of his claims, he must also provide a declaration in response to this Motion
           9   detailing how and when he became aware of the factual basis of his claims, given that,
         10    according to his own sources, the causal chain of events began in April of 2019, which is
         11    over four years before he filed this suit. Otherwise, his claims should be dismissed on
         12    limitations grounds.
         13            Under Civil Procedure Code § 425.16(c)(1), “a prevailing defendant on a special
         14    motion to strike shall be entitled to recover his or her attorney’s fees and costs.” Thus,
         15    Defendants are entitled to an award of attorneys’ fees. Defendants request that this Court
         16    dismiss the SLAPP Claims and conduct further proceedings to award attorneys’ fees and
         17    sanctions.
         18    IV.     CONCLUSION
         19            For all of these reasons, the Court should dismiss for lack of personal jurisdiction, or,
         20    in the alternative, the Court should dismiss for failure to state a claim or, further in the
         21    alternative, the Court should dismiss with prejudice under the Anti-SLAPP statute and
         22    conduct further proceedings to award Defendants their attorneys’ fees and costs.
         23                                                      GORDEE, NOWICKI & BLAKENEY LLP
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         25     Dated: January 17, 2024                         /s/ Alan J. Gordee
                                                                               Alan J. Gordee
         26                                                     Attorneys for Defendants; GIULIANI
                                                                PARTNERS, LLC; GIULIANI GROUP,
         27                                                     LLC; GIULIANI SECURITY & SAFETY,
                                                                LLC; and ROBERT J. COSTELLO
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                     DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS COMPLAINT
          Case 2:23-cv-08032-HDV-KS Document 23 Filed 01/17/24 Page 32 of 32 Page ID #:133


           1                               CERTIFICATE OF SERVICE
           2        The undersigned hereby certifies that all counsel of record who have consented to
           3   electronic service were served with a copy of DEFENDANTS’ NOTICE OF MOTION
           4   AND MOTION TO DISMISS COMPLAINT via the Central District of California
           5   CM/ECF system.
           6
           7   Dated: January 17, 2024                      /s/ Alan J. Gordee
           8                                                 Alan J. Gordee
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